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 2
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 4   toddleras@gmail.com
     Attorney for Defendant
 5
     ELO WADLEY
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-0023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:      December 7, 2017
17                                                     Time:      9:30 a.m.
                    Defendants.                        Court:     Hon. Troy L. Nunley
18

19

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21

22          This matter involves a charged conspiracy to distribute cocaine base. The Drug

23   Enforcement Administration’s investigation included the use of confidential sources, controlled
24
     purchases, and a court-authorized wiretap of a pager and two cellular telephones. The
25
     government has provided voluminous discovery to defense counsel, including nearly 500 pages
26
     of investigative reports and three discs of recordings and other materials. Defense counsel have
27
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 1   requested additional information related to testing results of suspected controlled substances
 2
     seized during the investigation. The government has agreed to provide the requested testing
 3
     results. Based on the nature of the investigation, defense counsel require additional time to
 4
     review discovery, and to conduct their own investigations regarding potential defenses in the
 5

 6   case.

 7           The parties to this action, Plaintiff United States of America by and through Assistant
 8
     United States Attorney Jason Hitt, Attorney Olaf Hedberg on behalf of Defendant Curtis Phillips,
 9
     Attorney Michael Long on behalf of Defendant Charles Ray Goodman, Attorney Toni White on
10
     behalf of Defendant Deborah Lynn Pollard, Attorney Greg Foster on behalf of Defendant
11

12   Conway Phillips, Jr., and Attorney Todd Leras on behalf of Defendant Elo Willie Wadley,

13   stipulate as follows:
14
             1.    By this stipulation, Defendants now move to vacate the status conference presently
15
                   set for August 17, 2017. The parties request to continue the status conference to
16
                   December 7, 2017, at 9:30 a.m., and to exclude time between August 17, 2017 and
17

18                 December 7, 2017 under Local Code T-4. The United States does not oppose this

19                 request.
20
             2. Due to the volume of discovery in the case, including 500 pages of investigative
21
                   reports and three discs containing additional materials, defense counsel for all
22
                   defendants are engaged in ongoing review of the discovery and defense investigation
23

24                 related to potential defenses in this matter. This investigation is necessary to ensure

25                 that potential defenses are explored and discussed with each defendant in the case.
26
             3. All defense counsel represent and believe that failure to grant additional time as
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 1              requested would deny each of them the reasonable time necessary for effective
 2
                preparation, considering the exercise of due diligence.
 3
            4. Based on the above-stated facts, the parties jointly request that the Court find that the
 4
                ends of justice served by continuing the case as requested outweigh the best interest
 5

 6              of the public and the Defendants in a trial within the time prescribed by the Speedy

 7              Trial Act.
 8
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9
                seq., within which trial must commence, the time period of August 17, 2017 to
10
                December 7, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C. §
11

12              3161(h)(7)(A), and (B) (iv) [Local Code T-4] because it results from a continuance

13              granted by the Court at Defendants’ request on the basis that the ends of justice
14
                served by taking such action outweigh the best interest of the public and the
15
                Defendants in a speedy trial.
16
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18              the Speedy Trial Act dictate that additional time periods are excludable from the

19              period within which a trial must commence.
20
            Assistant U.S. Attorney Jason Hitt and all defense counsel have reviewed this proposed
21
     order and authorized Todd Leras to sign it on their behalf.
22

23
     DATED: August 9, 2017
24                                                        By       Todd D. Leras for
                                                                   JASON HITT
25                                                                 Assistant United States Attorney
26

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 1   DATED: August 9, 2017
                                             By    /s/ Todd D. Leras for
 2
                                                   OLAF W. HEDBERG
 3                                                 Attorney for Defendant
                                                   CURTIS PHILLIPS
 4

 5

 6   DATED: August 9, 2017
                                             By    /s/ Todd D. Leras for
 7                                                 MICHAEL D. LONG
                                                   Attorney for Defendant
 8
                                                   CHARLES GOODMAN
 9
     DATED: August 9, 2017
10                                           By    /s/ Todd D. Leras for
                                                   TONI L. WHITE
11
                                                   Attorney for Defendant
12                                                 DEBORAH POLLARD

13   DATED: August 14, 2017
                                             By    /s/ Todd D. Leras
14
                                                   GREG FOSTER
15                                                 Attorney for Defendant
                                                   CONWAY PHILLIPS, JR.
16
     DATED: August 9, 2017
17
                                             By    /s/ Todd D. Leras
18                                                 TODD D. LERAS
                                                   Attorney for Defendant
19                                                 ELO WADLEY
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 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the initial status conference in this matter, scheduled for August 17, 2017, is
 4
     vacated. A new status conference is scheduled for December 7, at 9:30 a.m. The Court further
 5

 6   finds, based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from August 17, 2017, up to and
11

12   including December 7, 2017.

13   DATED: August 15, 2017
14

15                                                       Troy L. Nunley
                                                         United States District Judge
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     ORDER CONTINUING STATUS
28   CONFERENCE
